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                     IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              CENTRAL DIVISION


SOUTHERN FARM BUREAU LIFE                       )
INSURANCE COMPANY                               )
                  Plaintiff                     )
v.                                              )     No. 4:21-cv-00219-BSM
                                                )
T.J. JEFFERS and                                )
EMILY SANDERLIN                                 )
                           Defendants           )


                             ENTRY OF APPEARANCE


      Comes now Austin H. Easley of EASLEY & HOUSEAL, PLLC, and hereby enters his

appearance on behalf of Defendant TJ Jeffers.


                                                Respectfully submitted,

                                                EASLEY & HOUSEAL, PLLC
                                                Attorneys for Defendant TJ Jeffers

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                             CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the above pleading was filed electronically
via the CM/ECF system, which will provide notice to all attorneys of record pursuant to
Local Rule 5.2 and FRCP 5(d)(3).

                                                          Austin H. Easley
